Case 3:03-cr-00031-GMG-JES Document 337 Filed 02/14/06 Page 1 of 2 PageID #: 1063




                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                 IN MARTINSBURG


  GLORIA ROSEANNA JONES,

                 Petitioner,

  v.                                                    Civil Action No. 3:05-CV-63
                                                        Criminal Action No. 3:03-CR-31
                                                        (BROADWATER)

  UNITED STATES OF AMERICA,

                 Respondent.


                                               ORDER


         On this day the above-styled matter came before the Court for consideration of the

  Magistrate Judge’s Report and Recommendation dated September 26, 2005. The report

  recommends that the Court enter an order denying the petitioner’s §2255 motion as being

  untimely and dismiss the case from the docket.

         The petitioner served an objection dated October 4, 2005 to the Report and

  Recommendation . The grounds for the objection are first, that the petition is timely due to

  equitable tolling, and second, that the Court must consider the merits of the petition since the

  United States Supreme Court rules on the retroactivity of U. S. v. Booker.




                                              Page 1 of 2
Case 3:03-cr-00031-GMG-JES Document 337 Filed 02/14/06 Page 2 of 2 PageID #: 1064




         After reviewing the above, the court concludes that the Report and Recommendation

  should be adopted. The Magistrate Judge clearly states the law of the United States Court of

  Appeals for the Fourth Circuit on this issue. Furthermore, a review of the criminal file in this

  case clearly sets forth that the petitioner entered into a plea agreement with benefit of legal

  counsel and stipulated the total drug relevant conduct.

         Therefore, the Court,

         ORDERS that the Magistrate Judge’s Report and Recommendation is hereby

  ADOPTED, that the petitioner’s §2255 motion be DENIED as untimely, and that the case be

  DISMISSED from the docket of this Court.

         The petitioner is hereby informed that, as the United States is a responding party herein,

  notice of appeal must be filed within sixty (60) days after the entry of judgment with the United

  States Court of Appeals for the Fourth Circuit, in accordance with Federal Rules 11 for Section

  2255 Proceedings and Federal Rule of Appellate Procedure 4(a).

         The Clerk is directed to serve a copy upon pro se petitioner at her place of incarceration,

  Federal Prison Alderson, West Virginia and the United States Attorney for the Northern District

  of West Virginia as provided in the Administrative Procedures for Electronic Case Filing in the

  United States District Court for the Northern District of West Virginia.

         DATED: February 13, 2006.




                                              Page 2 of 2
